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                             Exhibit “A”
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                                             INVOICE

  KND GLOBAL LLC                                                           DATE:             9/ 20/2021
  10009 BENTCROSS DR.
  POTOMAC, M D 208S4
                                                                           INVOIC
  TEL: 857-999-8868                                                        E#         KND092021


  BILL TO:                                                                 SHIP TO:
  MAY FLOWER INTERNATIONAL IN C.                                           MAY FLOWER INTERNATIONAL INC.
  5 6-72 49TH PL                                                           56-72 49TH PL
  MASPETH, NY 11378                                                        MASPETH, NY 11378



  TEM NC                      DESCRIPTI ON                        QTY       UNIT    UNIT PRICE/ CASI       TOTAL           PAID        BALANCE
         Amoy US Double Yolk W ith Lotus Past e M oor
         iit;J*f1 bi 1!..1iili ii: fl fill 1 ca rton x 10 box x 4 p 4021   CASES            $210          $844,410     $ 378,965 .00
         Amoy US Lava Custard M ooncake
         ;~,! I:?;{_, rgAA 1 carton x 16 bo x 8 pcs x 45g         828      CASES      $        368.00     $304,704     $ 250,000.00
                          I        I                                                                      $1,149,114   $ 628,965 .00   $520,149


  THANK YOU!
